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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 RICHARD FOX,                                  )
                                               )
                 Plaintiff,                    )
                                               )
         v.                                    )   CASE NO. 2:19-cv-00150-JPH-MPB
                                               )
 KEVIN HUNTER, et al.,                         )
                                               )
                 Defendants.                   )

                               ORDER GRANTING DEFENDANT’S
                                MOTION TO APPEAR VIA VIDEO

       This matter is before the court on the motion of Defendant, Randall Purcell, to appear via

video at the Pavey hearing now set for October 22, 2020.

       For good cause shown, the motion, dkt. [66], is GRANTED. The Defendant is granted leave to

testify via video at the Pavey hearing. The Court’s IT staff shall work with defense counsel to set up a

video bridge line and to run a test before the hearing to accommodate Defendant’s testimony.

SO ORDERED.

Date: 9/18/2020




 Distribution:

 All ECF-registered counsel of record by email through the court’s ECF system


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